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  EXHIBIT J
              Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 2 of 21


Bryan Tyson

From:              Bryan Tyson
Sent:              Thursday, June 24, 2021 3:29 PM
To:                'Kaiser, Mary'; Cross, David D.; Carey Miller; Brogan, Eileen M.; Ascarrunz, Veronica; Hedgecock, Lyle
                   F.; Conaway, Jenna B.; cheryl.ringer@fultoncountyga.gov; Vincent Russo; Alexander Denton; Jonathan
                   Crumly; Dal Burton; Diane LaRoss; Bryan Jacoutot; Loree Anne Paradise; Bruce Brown; Rob McGuire;
                   Cary Ichter; Halsey G. Knapp, Jr.; Adam M. Sparks; Manoso, Robert W.; Josh Belinfante; Melanie
                   Johnson; Javier Pico-Prats; Rashmi Ahuja; Drina Miller
Subject:           RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)


Mary,

Hope you are feeling better and we appreciate your time on the meet‐and‐confer yesterday afternoon. We wanted to
follow up on a few points that we discussed:

   1. We will provide a written response for the 30(b)(6) notice with the topics we discussed by tomorrow. We
      understand you will be getting back to us for clarification on the terms we raised on the call.
   2. We will have proposed revised search terms to you by Monday, June 28 for further consideration.
   3. When we discussed the lack of any new document productions from Curling Plaintiffs in response to our RFPs
      late last year, you asked us for specific responses to which we expected documents and have not received them.
      In your responses to our RFPs on January 11, 2021, you indicated you would produce documents in response to
      the following requests:
          a. Request No. 13 (Curling)
          b. Request No. 14 (Curling)
          c. Request No. 15 (Curling), No. 14 (Price), and No. 13 (Schoenberg)
          d. Request No. 16 (D. Curling), No. 15 (D. Price), and No. 14 (J. Schoenberg)
          e. Request No. 17 (D. Curling), No. 16 (D. Price), and No. 15 (J. Schoenberg)
          f. Request No. 18 (D. Curling), No. 17 (D. Price), and No. 16 (J. Schoenberg)
          g. Request No. 19 (D. Curling), No. 18 (D. Price), and No. 17 (J. Schoenberg)
          h. Request No. 20 (D. Curling), No. 19 (D. Price), and No. 18 (J. Schoenberg)
          i. Request No. 21 (D. Curling), No. 20 (D. Price), and No. 19 (J. Schoenberg)
          j. Request No. 22 (D. Curling), No. 21 (D. Price), and No. 20 (J. Schoenberg)
          k. Request No. 23 (D. Curling), No. 22 (D. Price), and No. 21 (J. Schoenberg)
          l. Request No. 24 (D. Curling), No. 23 (D. Price), and No. 22 (J. Schoenberg)
          m. Request No. 25 (D. Curling), No. 24 (D. Price), and No. 23 (J. Schoenberg)
          n. Request No. 26 (D. Curling), No. 25 (D. Price), and No. 24 (J. Schoenberg)
          o. Request No. 27 (D. Curling), No. 26 (D. Price), and No. 25 (J. Schoenberg)
          p. Request No. 28 (D. Curling), No. 27 (D. Price), and No. 26 (J. Schoenberg)
          q. Request No. 29 (D. Curling), No. 28 (D. Price), and No. 27 (J. Schoenberg)
          r. Request No. 30 (D. Curling), No. 29 (D. Price), and No. 28 (J. Schoenberg)
          s. Request No. 31 (D. Curling), No. 30 (D. Price), and No. 29 (J. Schoenberg)
          t. Request No. 32 (D. Curling), No. 31 (D. Price), and No. 30 (J. Schoenberg)
   4. To date, we have not received any documents responsive to any of these requests. Please let us know when we
      can expect documents or whether your clients have not located any responsive documents so we can proceed
      with scheduling the Plaintiffs depositions as we discussed a few weeks ago.
   5. Finally, as we discussed, we will not be providing additional or other objections to the Fortalice subpoena.

Thanks,


                                                          1
                    Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 3 of 21

Bryan


                 Bryan P. Tyson
                 Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
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not executed an engagement letter with this firm, we do not represent you as your attorney and no duties are intended or created by this communication. Most
legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise so expressly stated.

From: Kaiser, Mary <MKaiser@mofo.com>
Sent: Tuesday, June 22, 2021 12:23 PM
To: Cross, David D. <DCross@mofo.com>; Bryan Tyson <btyson@taylorenglish.com>; Carey Miller
<carey.miller@robbinsfirm.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>;
cheryl.ringer@fultoncountyga.gov; Vincent Russo <vrusso@robbinsfirm.com>; Alexander Denton
<Alexander.Denton@robbinsfirm.com>; Jonathan Crumly <jcrumly@taylorenglish.com>; Dal Burton
<dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot
<bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>; Halsey
G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Manoso, Robert W.
<RManoso@mofo.com>; Josh Belinfante <Josh.Belinfante@robbinsfirm.com>; Melanie Johnson
<melanie.johnson@robbinsfirm.com>; Javier Pico‐Prats <javier.picoprats@robbinsfirm.com>; Rashmi Ahuja
<rahuja@taylorenglish.com>; Drina Miller <dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Bryan,

We are available at 4:00 ET tomorrow (Wednesday). Please confirm that that time works and send a dial‐in for the call.

Thanks,
Mary

MARY KAISER
Associate | Morrison & Foerster LLP
2100 L Street, NW, Suite 900 | Washington, DC 20037
P: +1 (202) 887-6952
C: +1 (202) 983-7086
mofo.com | LinkedIn | Twitter


From: Cross, David D. <DCross@mofo.com>
Sent: Tuesday, June 22, 2021 11:14 AM
To: Bryan Tyson <btyson@taylorenglish.com>; Carey Miller <carey.miller@robbinsfirm.com>; Brogan, Eileen M.
<EBrogan@mofo.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>;
Conaway, Jenna B. <JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; Vincent Russo
<vrusso@robbinsfirm.com>; Alexander Denton <Alexander.Denton@robbinsfirm.com>; Jonathan Crumly
                                                                                 2
               Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 4 of 21

<jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>;
Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>; Halsey
G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary
<MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico‐Prats
<javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Bryan -

We’ll get back to you on a time to speak tomorrow afternoon. Happy to discuss the 30b6 topics and timing then
too. Please be prepared to offer a specific scope for each topic so we can have a productive discussion (if you’d
like to offer that in advance, that would help), and please let us know your availability for the deposition.

Thanks.
DC



From: Bryan Tyson <btyson@taylorenglish.com>
Date: Tuesday, Jun 22, 2021, 4:52 AM
To: Cross, David D. <DCross@mofo.com>, Carey Miller <carey.miller@robbinsfirm.com>, Brogan, Eileen M.
<EBrogan@mofo.com>, Ascarrunz, Veronica <VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>,
Conaway, Jenna B. <JConaway@mofo.com>, cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>,
Vincent Russo <vrusso@robbinsfirm.com>, Alexander Denton <Alexander.Denton@robbinsfirm.com>, Jonathan Crumly
<jcrumly@taylorenglish.com>, Dal Burton <dburton@taylorenglish.com>, Diane LaRoss <dlaross@taylorenglish.com>, Bryan
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Manoso, Robert W. <RManoso@mofo.com>, Josh Belinfante <Josh.Belinfante@robbinsfirm.com>, Melanie Johnson
<melanie.johnson@robbinsfirm.com>, Javier Pico-Prats <javier.picoprats@robbinsfirm.com>, Rashmi Ahuja
<rahuja@taylorenglish.com>, Drina Miller <dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)


External Email



David,

We’ve talked with our team and can meet and confer on Wednesday after 3:30 or anytime on Thursday morning. Let us
know if those windows work. We would also like to discuss the 30b6 notice that your team sent for the Secretary’s
office—the topics are far beyond what our client can adequately research and prepare a witness or witnesses for in the
timeline you propose. We can discuss scope of the topics and timing at the meet and confer.

On an extension, we will not consent to an extension of the discovery schedule.

Thanks,

Bryan
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                 Bryan P. Tyson
                 Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
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From: Cross, David D. <DCross@mofo.com>
Sent: Monday, June 21, 2021 2:25 PM
To: Carey Miller <carey.miller@robbinsfirm.com>; Bryan Tyson <btyson@taylorenglish.com>; Brogan, Eileen M.
<EBrogan@mofo.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>;
Conaway, Jenna B. <JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; Vincent Russo
<vrusso@robbinsfirm.com>; Alexander Denton <Alexander.Denton@robbinsfirm.com>; Jonathan Crumly
<jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>;
Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>; Halsey
G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary
<MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico‐Prats
<javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Carey ‐

When will you produce to us documents that were already produced in the fair fight case that you claim are relevant to
our case?

When will you provide narrowed search terms and the hit results for each original and narrowed search term?

When will you start rolling your production? Presumably at least some (perhaps many) of the existing search terms don’t
have substantial hit results (to be clear, we’re not conceding that any do), in which case you could review and produce
those documents now (and should have before now)?

When are you available tomorrow to meet and confer on this issue?

Will you agree to an extension of the case schedule given we can’t possibly meet the July 1 report deadline in ten days
with no production from Defendants since before last year’s PI hearing, except for the incomplete and deficient election
databases we only just received (which we also need to address with you)?

DC


                                                                                 4
               Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 6 of 21

From: Carey Miller <carey.miller@robbinsfirm.com>
Date: Monday, Jun 21, 2021, 2:13 PM
To: Cross, David D. <DCross@mofo.com>, Bryan Tyson <btyson@taylorenglish.com>, Brogan, Eileen M.
<EBrogan@mofo.com>, Ascarrunz, Veronica <VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>,
Conaway, Jenna B. <JConaway@mofo.com>, cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>, Vincent
Russo <vrusso@robbinsfirm.com>, Alexander Denton <Alexander.Denton@robbinsfirm.com>, Jonathan Crumly
<jcrumly@taylorenglish.com>, Dal Burton <dburton@taylorenglish.com>, Diane LaRoss <dlaross@taylorenglish.com>, Bryan
Jacoutot <bjacoutot@taylorenglish.com>, Loree Anne Paradise <lparadise@taylorenglish.com>, Bruce Brown
<bbrown@brucepbrownlaw.com>, Rob McGuire <ram@lawram.com>, Cary Ichter <CIchter@IchterDavis.com>, Halsey G.
Knapp, Jr. <hknapp@khlawfirm.com>, Adam M. Sparks <sparks@khlawfirm.com>, Kaiser, Mary <MKaiser@mofo.com>,
Manoso, Robert W. <RManoso@mofo.com>, Josh Belinfante <Josh.Belinfante@robbinsfirm.com>, Melanie Johnson
<melanie.johnson@robbinsfirm.com>, Javier Pico‐Prats <javier.picoprats@robbinsfirm.com>, Rashmi Ahuja
<rahuja@taylorenglish.com>, Drina Miller <dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)


External Email



David,

Last fall, we produced thousands of pages of documents to you in an expedited timeframe; your clients produced nine
pages of documents as I recall. I may have missed them, but I have seen no productions from your clients since. As to
the terms at issue here, they hit on more than 70% of the entire email files of six of the custodians identified for the
pertinent time period.

Setting that aside, perhaps I was unclear. 280,000 messages were produced in total in Fair Fight, ranging from claims on
the number of polling locations to disparate impact VRA claims. My point was not that 280k emails produced in Fair
Fight are relevant here (for the most part, they’re not) but that in order to produce such a volume of documents, it will
take months and presumably push out the schedule. Further, the bulk of Fair Fight productions were responsive to DRE
searches, discovery on which you have previously obtained and a claim the Fair Fight Plaintiffs withdrew in light of
mootness as explained in Judge Jones’s Summary Judgment orders. We continue to maintain the same should be the
case here.

Finally, as to Fair Fight documents that may be relevant to your claims, those productions resulted in about 8800
documents (emails and other files) that hit on terms regarding that issue. Presumably, Dr. Halderman has already
reviewed those documents in preparation for his expert report in the Fair Fight litigation, submitted before the claim
was dismissed so there will be little prejudice in receiving them again.

In any event, we are running a comparison against documents produced in Fair Fight. We will produce documents we
produced in fair fight that are relevant to your claims here and will produce documents following our agreement to
narrowed terms. However, we do not believe this case entitles you to all discovery obtained in Fair Fight on claims your
clients are not pursuing here.


Carey A. Miller|404.856.3286|

From: Cross, David D. [mailto:DCross@mofo.com]
Sent: Monday, June 21, 2021 1:32 PM
To: Carey Miller <carey.miller@robbinsfirm.com>; Bryan Tyson <btyson@taylorenglish.com>; Brogan, Eileen M.
<EBrogan@mofo.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>;

                                                            5
               Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 7 of 21

Conaway, Jenna B. <JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; Vincent Russo
<vrusso@robbinsfirm.com>; Alexander Denton <Alexander.Denton@robbinsfirm.com>; Jonathan Crumly
<jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>;
Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>; Halsey
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<Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico‐Prats
<javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Carey ‐

Have you deduped this collection against what you produced in the Fair Fight case? If so, how many documents does
that leave to review? You won’t need to re‐review documents already produced in the Fair Fight case since you already
decided those were relevant to “similar claims.” If you haven’t done this, please do it and provide the net numbers.

And please explain why you haven’t already produced to us the documents you produced in the Fair Fight case, which
you could and should have produced months ago. That obviously is an easy production to get out given you already
provided it to plaintiffs in another case on “similar claims.” Please confirm that we will receive that production by
Wednesday of this week.

DC




From: Cross, David D. <DCross@mofo.com>
Date: Monday, Jun 21, 2021, 1:23 PM
To: Carey Miller <carey.miller@robbinsfirm.com>, Bryan Tyson <btyson@taylorenglish.com>, Brogan, Eileen M.
<EBrogan@mofo.com>, Ascarrunz, Veronica <VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>,
Conaway, Jenna B. <JConaway@mofo.com>, cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>, Vincent
Russo <vrusso@robbinsfirm.com>, Alexander Denton <Alexander.Denton@robbinsfirm.com>, Jonathan Crumly
<jcrumly@taylorenglish.com>, Dal Burton <dburton@taylorenglish.com>, Diane LaRoss <dlaross@taylorenglish.com>, Bryan
Jacoutot <bjacoutot@taylorenglish.com>, Loree Anne Paradise <lparadise@taylorenglish.com>, Bruce Brown
<bbrown@brucepbrownlaw.com>, Rob McGuire <ram@lawram.com>, Cary Ichter <CIchter@IchterDavis.com>, Halsey G.
Knapp, Jr. <hknapp@khlawfirm.com>, Adam M. Sparks <sparks@khlawfirm.com>, Kaiser, Mary <MKaiser@mofo.com>,
Manoso, Robert W. <RManoso@mofo.com>, Josh Belinfante <Josh.Belinfante@robbinsfirm.com>, Melanie Johnson
<melanie.johnson@robbinsfirm.com>, Javier Pico‐Prats <javier.picoprats@robbinsfirm.com>, Rashmi Ahuja
<rahuja@taylorenglish.com>, Drina Miller <dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Carey ‐

Bryan emailed us 11 days ago with the same numbers and indicated that you would review and produce responsive
documents coming out of the searches. He didn’t raise any issue with the searches or with the review process he
indicated then you were beginning with the documents coming out of those searches. To tell us 11 days later that you
suddenly want to revamp the searches and are not even beginning to produce documents when we have expert reports
due in 10 days is inappropriate and unacceptable. This should have happened weeks or months ago.

If you want to send us narrowed search terms today with the corresponding hit results for each current search and for
each corresponding narrowed search, please do so. We’ll consider your proposal as well as any relief we need to obtain
from the Court for this continued improper delay of discovery.
                                                           6
               Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 8 of 21


DC

From: Carey Miller <carey.miller@robbinsfirm.com>
Date: Monday, Jun 21, 2021, 1:16 PM
To: Cross, David D. <DCross@mofo.com>, Bryan Tyson <btyson@taylorenglish.com>, Brogan, Eileen M.
<EBrogan@mofo.com>, Ascarrunz, Veronica <VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>,
Conaway, Jenna B. <JConaway@mofo.com>, cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>, Vincent
Russo <vrusso@robbinsfirm.com>, Alexander Denton <Alexander.Denton@robbinsfirm.com>, Jonathan Crumly
<jcrumly@taylorenglish.com>, Dal Burton <dburton@taylorenglish.com>, Diane LaRoss <dlaross@taylorenglish.com>, Bryan
Jacoutot <bjacoutot@taylorenglish.com>, Loree Anne Paradise <lparadise@taylorenglish.com>, Bruce Brown
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<rahuja@taylorenglish.com>, Drina Miller <dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)


External Email



David:

We have run the search terms per your modifications to identify responsive documents. They identified more than 50gb
of emails alone (approx. 473,783 email messages, pre‐duplication, around 350,000 after removing duplicates). To put
this in perspective, in the Fair Fight litigation, our clients produced about 280,000 email messages in total and, of course,
in addition to seeking discovery on similar claims as your clients are pursuing here, the Fair Fight plaintiffs pursued many
more claims on other topics. In Fair Fight, completing review of those emails alone, with the additional expense of nearly
30 contract attorneys dedicated solely to document review, took a little more than three months in addition to about
four months for other discovery there.

Suffice to say, the number of messages the search terms “hit” on does not appear proportional to the needs of the case,
and completing review/production based on the universe of documents as it currently stands will be inordinately
burdensome and take more time than we suspect you prefer. We would like to propose narrowing the search terms to
avoid this issue, please let us know if you are amenable to narrowing the terms and we will propose alterations.
Otherwise, we will need to prepare a joint discovery statement on scope/breadth.

Thanks

Carey A. Miller|404.856.3286|

From: Cross, David D. [mailto:DCross@mofo.com]
Sent: Saturday, June 19, 2021 8:28 PM
To: Bryan Tyson <btyson@taylorenglish.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>;
cheryl.ringer@fultoncountyga.gov; Vincent Russo <vrusso@robbinsfirm.com>; Carey Miller
<carey.miller@robbinsfirm.com>; Alexander Denton <Alexander.Denton@robbinsfirm.com>; Jonathan Crumly
<jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>;
Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>; Halsey

                                                              7
               Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 9 of 21

G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary
<MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico‐Prats
<javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Bryan ‐

Can you please let us know when you will start rolling your production and when you expect to complete it? It’s been a
week since your update below, and we’ve not received any production from your clients.

Thanks.
DC



From: Bryan Tyson <btyson@taylorenglish.com>
Date: Thursday, Jun 10, 2021, 8:12 PM
To: Cross, David D. <DCross@mofo.com>, Brogan, Eileen M. <EBrogan@mofo.com>, Ascarrunz, Veronica
<VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>, Conaway, Jenna B. <JConaway@mofo.com>,
cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>, vrusso@robbinsfirm.com
<vrusso@robbinsfirm.com>, cmiller@robbinsfirm.com <cmiller@robbinsfirm.com>, adenton@robbinsfirm.com
<adenton@robbinsfirm.com>, Jonathan Crumly <jcrumly@taylorenglish.com>, Dal Burton <dburton@taylorenglish.com>,
Diane LaRoss <dlaross@taylorenglish.com>, Bryan Jacoutot <bjacoutot@taylorenglish.com>, Loree Anne Paradise
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<javier.picoprats@robbinsfirm.com>, Rashmi Ahuja <rahuja@taylorenglish.com>, Drina Miller <dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)


External Email



David,

I was traveling most of the day today and will get an update for you once I can talk with folks at the office tomorrow.
The search terms yielded more than 300,000 emails, most of which came from a single entry, and we are queuing up our
review process on those. We have also been going through the slow process of downloading the election databases. We
can produce to you tomorrow whatever databases we already have downloaded on an external drive to Halsey’s office
(or can overnight where you would prefer) and get the remaining ones as quickly as we can get them off the USB drives
after that.

Thanks,

Bryan




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                   Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 10 of 21

                  Bryan P. Tyson
                  Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                  P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
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legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise so expressly stated.

From: Cross, David D. <DCross@mofo.com>
Sent: Thursday, June 10, 2021 2:29 PM
To: Bryan Tyson <btyson@taylorenglish.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>;
cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com;
Jonathan Crumly <jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Diane LaRoss
<dlaross@taylorenglish.com>; Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise
<lparadise@taylorenglish.com>; Bruce Brown <bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>;
Cary Ichter <CIchter@IchterDavis.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks
<sparks@khlawfirm.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh
Belinfante <Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico‐
Prats <javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Bryan ‐

When do you expect to start rolling your production?

We had understood that you were going to get back to us on the other issues addressed in our last correspondence. Do
we understand that correctly, and if so, when can we expect that?

Thanks.
DC



From: Bryan Tyson <btyson@taylorenglish.com>
Date: Monday, Jun 07, 2021, 2:13 PM
To: Cross, David D. <DCross@mofo.com>, Brogan, Eileen M. <EBrogan@mofo.com>, Ascarrunz, Veronica
<VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>, Conaway, Jenna B. <JConaway@mofo.com>,
cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>, vrusso@robbinsfirm.com
<vrusso@robbinsfirm.com>, cmiller@robbinsfirm.com <cmiller@robbinsfirm.com>, adenton@robbinsfirm.com
<adenton@robbinsfirm.com>, Jonathan Crumly <jcrumly@taylorenglish.com>, Dal Burton <dburton@taylorenglish.com>,
Diane LaRoss <dlaross@taylorenglish.com>, Bryan Jacoutot <bjacoutot@taylorenglish.com>, Loree Anne Paradise
<lparadise@taylorenglish.com>, Bruce Brown <bbrown@brucepbrownlaw.com>, Rob McGuire <ram@lawram.com>, Cary
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<sparks@khlawfirm.com>, Kaiser, Mary <MKaiser@mofo.com>, Manoso, Robert W. <RManoso@mofo.com>, Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>, Melanie Johnson <melanie.johnson@robbinsfirm.com>, Javier Pico‐Prats
<javier.picoprats@robbinsfirm.com>, Rashmi Ahuja <rahuja@taylorenglish.com>, Drina Miller <dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)


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External Email



David,

Yes. We will be producing whatever was sent back to us from the counties for the November 2020 and January 2021
elections. Those are supposed to be project packages (EMS databases) and we are in the process of downloading them
from the individual USB drives the state received.

Thanks,

Bryan


                  Bryan P. Tyson
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                  P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                  Website | vCard | LinkedIn | Twitter


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not executed an engagement letter with this firm, we do not represent you as your attorney and no duties are intended or created by this communication. Most
legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise so expressly stated.

From: Cross, David D. <DCross@mofo.com>
Sent: Monday, June 7, 2021 1:12 PM
To: Bryan Tyson <btyson@taylorenglish.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>;
cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com;
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<dlaross@taylorenglish.com>; Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise
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Belinfante <Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico‐
Prats <javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Bryan –

Can you please confirm that these Project Packages (EMS databases) will be produced for both the October/November
2020 elections and the January 2021 Senate runoff election?

Thanks,
DC

DAVID D. CROSS
CHAIR OF ANTITRUST LITIGATION PRACTICE
Partner | Morrison & Foerster LLP
                                                                                10
                   Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 12 of 21
2100 L Street, NW, Suite 900 | Washington, DC 20037
P: +1 (202) 887-8795
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From: Bryan Tyson <btyson@taylorenglish.com>
Sent: Friday, June 4, 2021 2:55 PM
To: Cross, David D. <DCross@mofo.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>;
cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com;
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<sparks@khlawfirm.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh
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Prats <javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)


External Email



David,

I’ve confirmed that the format we receive from the counties is the Project Package. The projects are sizable files (for
example, Fulton’s is over 30GB) and are stored on individual jump drives. We expect to be able to have them to you by
early next week and will keep you posted if that changes as they are copied from the jump drives. Of course, we will also
provide you with whatever else is needed to access the files.

Thanks,

Bryan


                  Bryan P. Tyson
                  Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                  P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
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not executed an engagement letter with this firm, we do not represent you as your attorney and no duties are intended or created by this communication. Most
legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise so expressly stated.

From: Cross, David D. <DCross@mofo.com>
Sent: Friday, June 4, 2021 11:58 AM
To: Bryan Tyson <btyson@taylorenglish.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>;
cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com;
                                                                                11
              Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 13 of 21

Jonathan Crumly <jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Diane LaRoss
<dlaross@taylorenglish.com>; Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise
<lparadise@taylorenglish.com>; Bruce Brown <bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>;
Cary Ichter <CIchter@IchterDavis.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks
<sparks@khlawfirm.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh
Belinfante <Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico‐
Prats <javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Bryan -

On 2 below, we understand that the natural way to export this data from the Dominion EMS is as something
called a Project Package. If that's the native format you have in GA, we'd prefer it over JSON. We also
understand that the password protection used on Project Packages is easily bypassed. If the state or counties, or
anyone else, have applied any additional layers of encryption or password protection, beyond what the
Dominion software does by itself, we would need those passwords or the decrypted files.

Thanks.
DC


From: Cross, David D. <DCross@mofo.com>
Date: Friday, Jun 04, 2021, 9:59 AM
To: Bryan Tyson <btyson@taylorenglish.com>, Brogan, Eileen M. <EBrogan@mofo.com>, Ascarrunz, Veronica
<VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>, Conaway, Jenna B. <JConaway@mofo.com>,
cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>, vrusso@robbinsfirm.com
<vrusso@robbinsfirm.com>, cmiller@robbinsfirm.com <cmiller@robbinsfirm.com>, adenton@robbinsfirm.com
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Ichter <CIchter@IchterDavis.com>, Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>, Adam M. Sparks
<sparks@khlawfirm.com>, Kaiser, Mary <MKaiser@mofo.com>, Manoso, Robert W. <RManoso@mofo.com>, Josh
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<javier.picoprats@robbinsfirm.com>, Rashmi Ahuja <rahuja@taylorenglish.com>, Drina Miller <dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Checking with Dr. Halderman on 2 to confirm.

Can you also please confirm you’ll produce documents in the format we requested, including with the requested
metadata, going forward, per Rule 34?


From: Bryan Tyson <btyson@taylorenglish.com>
Date: Friday, Jun 04, 2021, 9:48 AM
To: Brogan, Eileen M. <EBrogan@mofo.com>, Cross, David D. <DCross@mofo.com>, Ascarrunz, Veronica
<VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>, Conaway, Jenna B. <JConaway@mofo.com>,
cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>, vrusso@robbinsfirm.com
<vrusso@robbinsfirm.com>, cmiller@robbinsfirm.com <cmiller@robbinsfirm.com>, adenton@robbinsfirm.com
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Diane LaRoss <dlaross@taylorenglish.com>, Bryan Jacoutot <bjacoutot@taylorenglish.com>, Loree Anne Paradise
<lparadise@taylorenglish.com>, Bruce Brown <bbrown@brucepbrownlaw.com>, Rob McGuire <ram@lawram.com>, Cary
Ichter <CIchter@IchterDavis.com>, Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>, Adam M. Sparks
<sparks@khlawfirm.com>, Kaiser, Mary <MKaiser@mofo.com>, Manoso, Robert W. <RManoso@mofo.com>, Josh
                                                         12
                   Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 14 of 21
Belinfante <Josh.Belinfante@robbinsfirm.com>, Melanie Johnson <melanie.johnson@robbinsfirm.com>, Javier Pico-Prats
<javier.picoprats@robbinsfirm.com>, Rashmi Ahuja <rahuja@taylorenglish.com>, Drina Miller <dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)


External Email



Good morning,

I had one update and a request related to this letter.

     1.  The expanded search terms in this letter are acceptable and we will begin running those against the extended
        list of custodians immediately to begin a rolling production of documents as quickly as we can.
     2. David mentioned in the conference with Judge Totenberg on Wednesday that you wanted the election
        databases in the same format received from the counties and not in a JSON format. If you can confirm that is
        correct, we will be able to produce what we have from the counties by early next week at the latest.

Thanks,

Bryan


                  Bryan P. Tyson
                  Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                  P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
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not executed an engagement letter with this firm, we do not represent you as your attorney and no duties are intended or created by this communication. Most
legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise so expressly stated.

From: Brogan, Eileen M. <EBrogan@mofo.com>
Sent: Tuesday, June 1, 2021 12:04 PM
To: Bryan Tyson <btyson@taylorenglish.com>; Cross, David D. <DCross@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>;
cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com;
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Cary Ichter <CIchter@IchterDavis.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks
<sparks@khlawfirm.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh
Belinfante <Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico‐
Prats <javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Counsel,

                                                                                13
               Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 15 of 21

Please see the attached correspondence. Hope everyone had an enjoyable Memorial Day weekend.

Best,
Eileen

EILEEN BROGAN
Associate | Morrison & Foerster LLP
2100 L Street, NW, Suite 900 | Washington, DC 20037
P: +1 (202) 887-1520
mofo.com | LinkedIn | Twitter


From: Bryan Tyson <btyson@taylorenglish.com>
Sent: Friday, May 21, 2021 6:48 PM
To: Cross, David D. <DCross@mofo.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Hedgecock, Lyle F.
<LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov;
vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com; Jonathan Crumly
<jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>;
Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>; Halsey
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<MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Josh
Belinfante <Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico‐
Prats <javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)


External Email



David,

The search terms were originally utilized in Fair Fight Action v. Raffensperger, Case No. 1:18‐cv‐05391‐SCJ. A copy of the
amended complaint with all opposing counsel listed is attached. We have not conducted any separate testing of these
terms against a sample, but similar terms yielded 8,825 responsive documents in Fair Fight Action and we will also plan
to review the documents captured by the terms for responsiveness.

Secretary of State employees store all documents on a central shared server, so we will separately search that server for
responsive documents, as we have in other election cases.

The list of custodians came from your letter to us, removing the individuals who are not employees of the Secretary of
State’s office. We do not believe there are additional individuals who would have responsive documents but will
obviously comply with our obligations under the Federal Rules if we discover others during the search process.

We look forward to receiving answers to the other issues in the letter.

Thanks,

Bryan



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                  Bryan P. Tyson
                  Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                  P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                  Website | vCard | LinkedIn | Twitter


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From: Cross, David D. <DCross@mofo.com>
Sent: Thursday, May 20, 2021 6:37 PM
To: Bryan Tyson <btyson@taylorenglish.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Hedgecock, Lyle F.
<LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov;
vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com; Jonathan Crumly
<jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>;
Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>; Halsey
G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary
<MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Josh
Belinfante <Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico‐
Prats <javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Bryan -

Per our prior correspondence, we need more information to assess the efficacy of the proposed search terms,
which we’re willing to consider without waiving any rights. In particular, please provide the following by
tomorrow:

- The case caption(s) and court(s) for the “prior litigation filed against the State of Georgia” for which these
terms were developed, and the individual name(s) and law firm(s) of the opposing counsel in each such case
who “accepted the terms as comprehensive”;

- Any metrics from any testing of these terms against a robust data/document sample to assess under- and over-
inclusiveness

- An explanation of whether the terms have been used for production in any other litigation and, if so, what was
produced, when, to whom, for what custodians, and in what volumes

Regarding the data/documents to be searched, please confirm that you will run any search terms against each
custodian’s files, such as Word processing and other text searchable documents stored on their respective
computers or other media, including shared sites or folders. The terms should not be run only against their
Exchange mailboxes as your letter seems to indicate, as that would be much too narrow to comply with Rules
26 and 34.

Regarding document custodians, we need to understand how you arrived at that list and we need to know - per
Rule 26 - the names of other employees, agents, or others with responsibility regarding Georgia’s election
system who may have relevant documents within your clients’ possession, custody, or control.
                                                                                15
                   Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 17 of 21


We’ll be in touch regarding the other issues in your letter.

Thanks.
DC




From: Bryan Tyson <btyson@taylorenglish.com>
Date: Thursday, May 20, 2021, 5:47 PM
To: Ascarrunz, Veronica <VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>, Conaway, Jenna B.
<JConaway@mofo.com>, cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>, vrusso@robbinsfirm.com
<vrusso@robbinsfirm.com>, cmiller@robbinsfirm.com <cmiller@robbinsfirm.com>, adenton@robbinsfirm.com
<adenton@robbinsfirm.com>, Jonathan Crumly <jcrumly@taylorenglish.com>, Dal Burton <dburton@taylorenglish.com>,
Diane LaRoss <dlaross@taylorenglish.com>, Bryan Jacoutot <bjacoutot@taylorenglish.com>, Loree Anne Paradise
<lparadise@taylorenglish.com>, Cross, David D. <DCross@mofo.com>, Bruce Brown <bbrown@brucepbrownlaw.com>, Rob
McGuire <ram@lawram.com>, Cary Ichter <CIchter@IchterDavis.com>, Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>,
Adam M. Sparks <sparks@khlawfirm.com>, Kaiser, Mary <MKaiser@mofo.com>, Manoso, Robert W.
<RManoso@mofo.com>, Brogan, Eileen M. <EBrogan@mofo.com>, Josh Belinfante <Josh.Belinfante@robbinsfirm.com>,
Melanie Johnson <melanie.johnson@robbinsfirm.com>, Javier Pico-Prats <javier.picoprats@robbinsfirm.com>, Rashmi Ahuja
<rahuja@taylorenglish.com>, Drina Miller <dmiller@taylorenglish.com>, Bryan Tyson <btyson@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)


External Email



All:

Please find attached a letter summarizing proposed search terms and related to several other discovery issues in this
case. We look forward to your response.

Thanks,

Bryan


                  Bryan P. Tyson
                  Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                  P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                  Website | vCard | LinkedIn | Twitter


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not executed an engagement letter with this firm, we do not represent you as your attorney and no duties are intended or created by this communication. Most
legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise so expressly stated.

From: Bryan Tyson
Sent: Monday, May 17, 2021 10:12 AM
To: 'Ascarrunz, Veronica' <VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B.
                                                                                16
                   Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 18 of 21

<JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
adenton@robbinsfirm.com; Jonathan Crumly <jcrumly@taylorenglish.com>; James Balli <jballi@taylorenglish.com>; Dal
Burton <dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot
<bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Cross, David D.
<DCross@mofo.com>; Bruce Brown <bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter
<CIchter@IchterDavis.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks
<sparks@khlawfirm.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Brogan,
Eileen M. <EBrogan@mofo.com>; Josh Belinfante <Josh.Belinfante@robbinsfirm.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Veronica,

We have already responded to those issues previously and did not respond further because they were not raised in
David’s letter outlining the “final positions” on outstanding discovery issues on May 11. To the extent you expect a
response, our previous letters fully outline our positions on these issues and we’ll be ready to fill in our portions of joint
discovery statements when and if you send those our way.

Thanks,

Bryan


                  Bryan P. Tyson
                  Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                  P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                  Website | vCard | LinkedIn | Twitter


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not executed an engagement letter with this firm, we do not represent you as your attorney and no duties are intended or created by this communication. Most
legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise so expressly stated.

From: Ascarrunz, Veronica <VAscarrunz@mofo.com>
Sent: Friday, May 14, 2021 7:55 PM
To: Bryan Tyson <btyson@taylorenglish.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B.
<JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
adenton@robbinsfirm.com; Jonathan Crumly <jcrumly@taylorenglish.com>; James Balli <jballi@taylorenglish.com>; Dal
Burton <dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot
<bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Cross, David D.
<DCross@mofo.com>; Bruce Brown <bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter
<CIchter@IchterDavis.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks
<sparks@khlawfirm.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Brogan,
Eileen M. <EBrogan@mofo.com>; Josh Belinfante <Josh.Belinfante@robbinsfirm.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Bryan,
Your letter does not address the below from David’s letter to you of April 22, 2021, which we take to mean that we
understand your position correctly and so will raise these issues with the Court.

          We also understand that you will not produce (i) documents with
                                                                                17
                   Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 19 of 21

          appropriate metadata, (ii) Dominion EMS DVD files, (iii) any documents
          concerning Dominion, (iv) documents related to EMS databases, (v) any fully-configured
          EMS, (vi) any fully-configured ICC, or (vii) any BMD equipment or
          peripherals. Please let me know if that understanding is incorrect before we raise
          these issues with the Court, which we intend to do expeditiously if needed.
Best,
Veronica Ascarrunz



From: Bryan Tyson <btyson@taylorenglish.com>
Sent: Friday, May 14, 2021 5:27 PM
To: Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>;
cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com;
Jonathan Crumly <jcrumly@taylorenglish.com>; James Balli <jballi@taylorenglish.com>; Dal Burton
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<bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Cross, David D.
<DCross@mofo.com>; Bruce Brown <bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter
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<sparks@khlawfirm.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Kaiser, Mary <MKaiser@mofo.com>;
Manoso, Robert W. <RManoso@mofo.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Bryan Tyson <btyson@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)


External Email




All:

Please find attached State Defendants’ letter responding to Mr. Cross’s letter and outlining our discovery positions as we
discussed.

Have a great weekend,

Bryan


                  Bryan P. Tyson
                  Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                  P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                  Website | vCard | LinkedIn | Twitter


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legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise so expressly stated.

From: Hedgecock, Lyle F. <LHedgecock@mofo.com>
Sent: Tuesday, May 11, 2021 10:02 PM
                                                                                18
               Case 1:17-cv-02989-AT Document 1119-10 Filed 06/25/21 Page 20 of 21

To: Conaway, Jenna B. <JConaway@mofo.com>; Bryan Tyson <btyson@taylorenglish.com>;
cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com;
Jonathan Crumly <jcrumly@taylorenglish.com>; James Balli <jballi@taylorenglish.com>; Dal Burton
<dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot
<bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Cross, David D.
<DCross@mofo.com>; Bruce Brown <bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter
<CIchter@IchterDavis.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks
<sparks@khlawfirm.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Kaiser, Mary <MKaiser@mofo.com>;
Manoso, Robert W. <RManoso@mofo.com>; Brogan, Eileen M. <EBrogan@mofo.com>
Subject: Curling v. Raffensperger, No. 1:17‐cv‐2989‐AT (N.D. Ga.)

Mr. Tyson,

Please find attached a letter from Mr. Cross concerning discovery.

Best,

LYLE HEDGECOCK
Associate | Morrison & Foerster LLP
2100 L Street, NW, Suite 900 | Washington, DC 20037
P: +1 (202) 572-6769
mofo.com | LinkedIn | Twitter



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